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                     IN THE UNITED STATES DISTRICT COURT                     United States Courts
                                                                           Southern District of Texas
                                                                                   Fl LED
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                            AUG 15 2023
                               HOUSTON DIVISION
                                                                       Nathan Ochsner, Clerk of Court




DAVID DANIELS, Ill

PLAINTIFF                                 CIVIL ACTION :

 vs,                                     4:22CV-00199

PENYMAC LOAN SERVICES, LLC, ET AL

DEFENDANTS




 REQUEST TO DENY PLAINTAFF FROM APPEAL OF JUDGMENT IN
FORMA PAUPERIS




To the respectful court and the Honorable judge of the court.

I am Sam Sorour, a defendant in this case. I would like to object and request
to block the plaintiff from continuation of your judgment due to some of the
few facts listed within this request.

I would like to list a sample of facts to bring to your attention concerning
behavior and statements made by the plaintiff Mr. Daniels in this case.

From the last and only deposition that has been conducted between Mr.
Daniels and PennyMac attorney's Elizabeth Duffy (Exhibit A) dated March 28 th ,
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2023. It appears that Mr. Daniels as a (Pro Se). Has challenged the court and
looked the court in the eye and challenged it to stop him if it can. For
example, In his recent statements, Mr. Daniels has contradicted himself
numerous times by claiming that he is exempt or partially exempt from rules
and obligations, asserting that he does not need to adhere to them in court of
law. [page 8 lines 1~ 14]:

 ["Q. do you understand that you are bound by the same rules just the same?
A. Partially.

Q . Would you like to -well, please elaborate. So, you mean partially?

A, this will-as far as me being a layman, I'm not a licensed attorney. So all the
strictness of law does not 100 percent apply to me as far as what would apply
to a licensed attorney."].

 However, his actions speak otherwise, as he has shown a pattern of non-
compliance and disregard for the established guidelines.

Furthermore, Mr. Daniels claims regarding his employment and financial
situation have also raised questions. In one instance, he stated March
28 th,2023 that he worked with supervisory responsibilities level 2. page 10 lines
12~25 & page 11 lines 1~10. On the other hand, his application for forma
pauperis (Exhibit B) contradicts this, as he has denied any employment for the
past two years and claimed employment by day staffing agency in 3/26/2022
and 6/13/2022 no mentioning to his current employment as of March 2023,
the time of the deposition.

Of particular concern is Mr. Daniels assertion that he did not receive a loan for
purchasing the property page [21 and 23], and this is the whole base of his
argument. Because according to his statement buying the house was not a
direct exchange for a loan that was paid to him directly then in return, he used
it after that to buy the house. That is why we see in his statements that he
didn't owe any loan and the house is paid in full. This statement seems to be
an attempt to manipulate terminology to his advantage. He is effectively
requesting funds in hand for the house purchases, while avoiding the term
"loan." This situation is a clear example of an unfounded claim that lacks merit.
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Ultimately, this case exhibits characteristics of a baseless lawsuit,
encompassing elements such as time wastage, revenge motives, and potential
damage. While I respect Mr. Daniels' right to the legal system, I strongly
believe that cases like these, which lack any substantial foundation, should be
promptly addressed.

Numerous cases in Texas have demonstrated the impact of such baseless
claims on the legal system, delaying genuine cases and causing unnecessary
stress for defendants. It is my hope that the judicial system can recognize the
frivolous nature of cases like this and take appropriate measures to prevent
their progression.

Thank you for your time and consideration.

Sincerely,

Sam Sorour-Defendant



                         J~PilJ~~
